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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Marvelle James Bowers
                                        Plaintiff,
v.                                                         Case No.: 1:17−cv−02731
                                                           Honorable John Z. Lee
Northern Illinois Gas Company
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 20, 2017:


        MINUTE entry before the Honorable John Z. Lee:Status hearing held on 6/20/17.
The parties report that they have agreed to a settlement. This case is dismissed without
prejudice; the dismissal shall become with prejudice in 30 days; if necessary the case may
be reinstated prior to the 30 days. Civil case terminated. Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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